                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


BEAU D. JAMMES,

                    Plaintiff,

      v.                                          Case No. 18-cv-493-pp

VINCENT R. BISKUPIC,
and JOHN DOES 1-3,

                    Defendants.


                                 ORDER OF RECUSAL


      Under 28 U.S.C. §455(a) and Canon 3(C)(1) of the Code of Conduct for

United States Judges, I recuse myself from further participation in this case.

      The court ORDERS that the Clerk of Court randomly assign this case to

another Judge in the Eastern District of Wisconsin.

      Dated in Milwaukee, Wisconsin this 10th day of January, 2019.

                                      BY THE COURT:


                                      _____________________________________
                                      HON. PAMELA PEPPER
                                      United States District Judge




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